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     Exhibit “C”
               Case 2:22-cv-00688-JMY Document 167-4 Filed 05/28/24 Page 2 of 6


  From: GARY LIGHTMAN garylightman@lightmanlaw.com
Subject: Fwd: AMERICAN ENVIRONMENTAL ENTERPRISES INC., D/B/A THESAFETYHOUSE.COM v. MANFRED STERNBERG,
         et al
   Date: April 15, 2024 at 8:54 PM
     To: Pat Healey phealey@rebarkelly.com
   Cc: Kim DiTomaso kditomaso@lightmanlaw.com, Glenn Manochi gmanochi@lightmanlaw.com, GARY LIGHTMAN ltag8r@me.com



    Patrick,

    To say that we were “underwhelmed” by the attached “Revised Answers and Objections” of the
    Zekaria Defendants to plaintiff’s Interrogatories and Document Requests propounded upon the
    Zekaria Defendants, that you produced earlier today in your 4/15 email to us, would be a gross
    understatement.

    THE ZEKARIA DEFENDANTS HAVE FAILED AND REFUSED TO COMPLY WITH JUDGE
    YOUNGE’S 4/1/24 ORDER COMPELLING "FULL AND COMPLETE VERIFIED ANSWERS
    (WITHOUT OBJECTION)" TO PLAINTIFF’S DISCOVERY REQUESTS, AND THE PRODUCTION
    OF ALL RESPONSIVE DOCUMENTS.

    We are attaching to this email, a list of the Deficiencies of the Zekaria Defendants in that regard.

    For example—Where are the emails to or from Daphna, and the Weiss Defendants, and/or the
    Gross Defendants, and/or Manfred Sternberg? None have been produced by Daphna (although
    other defendants have produced some of those responsive documents).

    For example—Where are the text messages (other than the one string of WhatsApp messages)?
    None have been produced by Daphna (although other defendants have produced some of those
    responsive documents).

    Please advise us (by no later than Wednesday 4/17) whether your clients will be sending us “full
    and complete answers (without objection)" to the plaintiff’s discovery requests, and all responsive
    documents, in compliance with Judge Younge’s 4/1/24 Order compelling discovery (and if so, a
    date certain by which we will get that required discover material form your clients), or whether we
    should just file our Motion for Contempt and for Sanctions.

    thx
    Gary Lightman
    cell 215-760-3000

    attachment

    cc: client

    KDT—pls DAs (discovery—prod by Zekaria 041524 folder)
    also dy to f/u on Thurs 4/18 tg



     DEFICIENCIES.Z
     ekaria.…24.pdf




     Begin forwarded message:

     From: Patrick Healey <phealey@rebarkelly.com>
     Subject: AMERICAN ENVIRONMENTAL ENTERPRISES INC., D/B/A THESAFETYHOUSE.COM
        Case 2:22-cv-00688-JMY Document 167-4 Filed 05/28/24 Page 3 of 6

Subject: AMERICAN ENVIRONMENTAL ENTERPRISES INC., D/B/A THESAFETYHOUSE.COM
v. MANFRED STERNBERG, et al
Date: April 15, 2024 at 9:02:30 AM EDT
To: Gary Lightman <garylightman@lightmanlaw.com>, "Laver, Seth L."
<slaver@goldbergsegalla.com>
Cc: Gary Weiss <wgary4109@gmail.com>, 'Sam Gross' <Samrosinc@icloud.com>, Cathleen
Kelly Rebar <crebar@rebarkelly.com>, Kathy Ciesielka <kciesielka@rebarkelly.com>, Michael
Rebar <mrebar@rebarkelly.com>, "Patrick Healey" <phealey@rebarkelly.com>

Counselors:

Please see the attached documents. Please let us know if you have any questions. Thank you.

Pat Healey




                                             Patrick J. Healey
                                             Partner
                                             256 West 36th Street
                                             Suite 900
                                             New York, New York 10018
                                             212.858.9970 | Fax 212.858.9971
                                             C: 215.266.4879
                                             E: phealey@rebarkelly.com
                                             W: www.rebarkelly.com


                  NEW JERSEY                                 PENNSYLVANIA
         100 Overlook Center, 2nd Floor              470 Norristown Road, Suite 201
              Princeton, NJ 08540                     Blue Bell, Pennsylvania 19422
       609.375.2070 | eFax 888.761.8299             484.344.5340 | eFax 484.344.5341
                 NEW JERSEY
                                                             CONNECTICUT
            Park 80 West – Plaza II
           250 Pehle Ave – Suite 200                   263 Tresser Blvd, 9th Floor
            Saddle Brook, NJ 07663                        Stamford, CT 06901
                                                   203.564.1971 | eFax: 888.761.8299
       551.246.1642 | eFax 888.761.8299

                                           OHIO
                               4200 Regent Street, Suite 200
                                   Columbus, OH 43219
                             614.245.2141 | eFax: 888.761.8299




We are pleased to announce that our New York office has relocated, and
therefore our address has changed.

Please note, our New York office address is now:

256 West 36th Street
Suite 900
New York, NY 10018


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—
Gary Lightman, Esquire
LIGHTMAN & MANOCHI
cell: 215-760-3000
email: garylightman@lightmanlaw.com and Ltag8r@me.com


LIGHTMAN & MANOCHI
600 West Germantown Pike, Suite 400
Plymouth Meeting, PA 19462
Phone: (215) 545-3000

New Jersey:
Phone: (856) 795-9669 (ext. 107); fax (856) 795-9339

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